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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
NATIONAL COMMUNITY REINVESTMENT )
COALITION, et al.,                         )
                                           )
                   Plaintiffs,             )
                                           )  Civil Action No. 20-2074 (BAH)
      v.                                   )
                                           )
CONSUMER FINANCIAL PROTECTION              )
BUREAU,                                    )
                                           )
                   Defendant.              )
                                           )

                        JOINT MOTION TO STAY PROCEEDINGS

       Plaintiffs National Community Reinvestment Coalition, Montana Fair Housing, Texas

Low Income Housing Information Service, City of Toledo, Empire Justice Center, and Association

for Neighborhood and Housing Development and Defendant Consumer Financial Protection

Bureau jointly move to stay proceedings for 45 days.

       Plaintiffs filed their motion for summary judgment on December 11, 2020. On January 25,

2021, the Court granted Defendant’s unopposed motion for an extension of time to file its response

and cross-motion for summary judgment until February 12, 2021. As Defendant explained in its

motion for an extension, between the time Plaintiffs filed their brief and Defendant’s brief was

due, Defendant underwent a leadership change. Following Kathleen Kraninger’s resignation as

Director of the Bureau on January 20, 2021, President Joseph Biden appointed David Uejio as the

Bureau’s Acting Director. Defendant thus requested additional time in order to afford the Bureau’s

Acting Director time to consider and review this litigation.

       The Acting Director is still reviewing this litigation and the rule that gave rise to it, and,

after conferring, the parties agree that it is appropriate to stay these proceedings for 45 days. In
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light of the possibility the Bureau may decide to undertake further rulemaking activity potentially

affecting the challenged rule, such a stay would promote efficiency and conserve judicial

resources. At the conclusion of the stay, the parties will file a joint status report reflecting their

positions on whether an additional stay would be appropriate or propose a schedule for further

proceedings in this case.



Dated: February 5, 2021                        Respectfully submitted,

                                               /s/ Adam Pulver
                                               Adam R. Pulver (D.C. Bar No. 1020475)
                                               Michael T. Kirkpatrick (D.C. Bar No. 486293)
                                               Allison M. Zieve (D.C. Bar No. 42486)
                                               Public Citizen Litigation Group
                                               1600 20th Street NW
                                               Washington, DC 20009
                                               (202) 588-1000
                                               Counsel for Plaintiffs

                                               MARY McLEOD
                                               General Counsel
                                               JOHN R. COLEMAN
                                               Deputy General Counsel
                                               LAURA M. HUSSAIN
                                               Assistant General Counsel
                                               CHRISTOPHER DEAL
                                               Senior Counsel

                                               /s/ Joseph Frisone
                                               JOSEPH FRISONE (Va. Bar No. 90728)
                                               Counsel
                                               Consumer Financial Protection Bureau
                                               1700 G Street, NW
                                               Legal Division
                                               Washington, D.C. 20552
                                               Telephone: (202) 435-9287
                                               Fax: (202) 435-7024
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                           Joseph.Frisone@cfpb.gov

                           Counsel for Defendant




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